Case 1:18-cv-23190-DPG Document 90 Entered on FLSD Docket 09/12/2019 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

  CASE NO: 18 -CV-23190 DPG


  TIMOTHE DOLCINE

        Plaintiff,

  vs.


  THE VILLAGE OF BISCAYNE PARK,
  A municipality of the State of Florida
  CHIEF RAIMUNDO ATESIANI,
  OFFICER CHARLIE DAYOUB,
  OFFICER RAUL FERNANDEZ
  OFFICER RAVELO
  individually

        Defendants.
                                           /

                               NOTICE OF RESOLUTION

  The PLAINTIFF, by and through the undersigned counsel, files this notice of

  resolution of the claims as the parties settled this matter at mediation. Please

  cancel all previously scheduled hearings in this matter.

                            CERTIFICATE OF SERVICE

  I hereby certify that on this September 12, 2019 I electronically filed the

  foregoing document with the Clerk of Court using CM/ECF. I also certify that the

  foregoing document is being served this day on all counsel of record for service

  via transmission of Notices of Electronic filing generated by CM/ECF.


                                               /s/ William C. Robinson
                                               WILLIAM C. ROBINSON, ESQ

  1|Page
Case 1:18-cv-23190-DPG Document 90 Entered on FLSD Docket 09/12/2019 Page 2 of 2



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  2|Page
